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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ------------------------------------X

  UNITED STATES OF AMERICA                       MEMORANDUM AND ORDER

             - against -                         10-cr-809 (S-3)(KAM)

  CHRISTOPHER BARRET et al.,

                 Defendants.
  ------------------------------------X
  MATSUMOTO, United States District Judge:

             Defendant Omar Mitchell is one of eight defendants

  charged in a third superseding indictment (the “Superseding

  Indictment”) filed on November 23, 2011.          (See generally ECF No.

  304, Superseding Indictment (“S-3”).)         In the motions pending

  before the court, Mitchell moves to dismiss Count Six of the

  Superseding Indictment, which charges him with using, carrying

  or possessing; brandishing; or discharging a firearm in

  furtherance of a drug-trafficking crime in violation of 18

  U.S.C. § 924(c) (“Section 924(c)”).        (ECF Nos. 333-34, Motion to

  Dismiss and to File a Bill of Particulars by Omar Mitchell

  (“Mitchell Mem.”), at 1-5.)      In the alternative, Mitchell seeks

  a bill of particulars with respect to Count Six.            (Id. at 5-6.)

  For the reasons set forth below, the court denies Mitchell’s

  motions.




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                                  BACKGROUND 1

              Mitchell is named in two of six counts in the

  Superseding Indictment.       Count Two of the Superseding Indictment

  charges Mitchell and each of his co-defendants with conspiring

  to distribute and possess with intent to distribute more than

  1000 kilograms of marijuana between November 2006 and December

  2010, in violation of 21 U.S.C. §§ 841(b)(1)(A)(vii) 2 and 846, 3

  and 18 U.S.C. § 3551 et seq. 4        (S-3 ¶ 22.)       Count Six charges

  Mitchell and six of his co-defendants with using, carrying,

  possessing, brandishing and discharging a firearm in furtherance

  of drug-trafficking crimes between November 2006 and October

  2010, in violation of 18 U.S.C. §§ 924(c)(1)(A)(i), 5




  1
    The court assumes the parties’ familiarity with the alleged facts underlying
  the Superseding Indictment as presented by the government and outlined by the
  court in its Memoranda and Orders dated November 16, 2011 and December 21,
  2011. See United States v. Barret, No. 10-cr-809, --- F. Supp. 2d ---, 2011
  WL 5579079, at *2-4 (E.D.N.Y. Nov. 16, 2011); ECF No. 372, Memorandum and
  Order dated 12/21/2011.
  2
    Under 21 U.S.C. § 841(b)(1)(A)(vii), any violation of 21 U.S.C. § 841(a)(1)
  that involves “1000 kilograms or more of a mixture or substance containing a
  detectable amount of marijuana, or 1,000 or more marijuana plants regardless
  of weight” is punishable by a term of imprisonment of at least ten years, or
  at least twenty years “if death or serious bodily injury results from the use
  of such substance.”
  3
    21 U.S.C. § 846 provides that the penalties for conspiracy match those for
  the substantive underlying offense.
  4
    18 U.S.C. 3551 et seq. generally provides penalties for offenses described
  in any federal statute.
  5
    Under 18 U.S.C. § 924(c)(1)(A)(i)-(iii), the use or possession, brandishment
  and discharge of a firearm in relation or in furtherance of a drug
  trafficking crime is punishable by a term of imprisonment of at least five,
  seven, and ten years, respectively.

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  924(c)(1)(A)(ii), 924(c)(1)(A)(iii), 2 6 and 3551 et seq.              (Id. ¶

  26.)

                                   DISCUSSION

      I.   Motion to Dismiss

              Count Six is predicated on Section 924(c), which

  provides, in relevant part:

              [A]ny person who, during and in relation to
              any . . . drug trafficking crime . . . uses
              or carries a firearm, or who, in furtherance
              of any such crime, possesses a firearm,
              shall,   in   addition  to   the   punishment
              provided for such crime of violence or drug
              trafficking crime—(i) be sentenced to a term
              of imprisonment of not less than 5 years;
              (ii) if the firearm is brandished, be
              sentenced to a term of imprisonment of not
              less than 7 years; and (iii) if the firearm
              is discharged, be sentenced to a term of
              imprisonment of not less than 10 years.

  18 U.S.C. §§ 924(c)(1)(A)(i)-(iii).         Mitchell moves to dismiss

  Count Six on grounds that it is “impermissibly duplicitous”

  because it combines into one charge the three separate offenses

  of (1) using, carrying or possessing, (2) brandishing and (3)

  discharging a gun.      (Mitchell Mem. at 2-3.)

              Mitchell claims that the allegedly duplicitous nature

  of Count Six prejudices him because, inter alia, a “[guilty]




  6
    18 U.S.C. § 2 provides, in relevant part: “Whoever . . . aids, abets,
  counsels, commands, induces or procures [the] commission” of an act or
  “willfully causes an act to be done” against the United States is punishable
  as a principal.

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  verdict [as to Count Six] may not be unanimous as to the

  specific allegations combined within the single count.”              (Id. at

  4.)   In other words, he could be convicted of Count Six if all

  jurors believe that he violated some aspect of Section 924(c),

  even if they do not all agree on which particular aspect (using,

  carrying or possessing; brandishing; or discharging) he

  violated.    Consequently, Mitchell asserts, a conviction under

  Count Six would form an improper basis for sentencing and would

  not protect him against double jeopardy because he would not

  know which of the three offenses the jury found him to have

  committed.    (Id.)

              In opposition, the government argues that Count Six is

  not duplicitous because it charges a continuing crime, and the

  appropriate unit of prosecution is the underlying drug-

  trafficking offense.     (ECF No. 356, Government’s Response to

  Mitchell’s Motion to Dismiss and For a Bill of Particulars

  (“Gov’t Opp’n”) at 6.)      The government further argues that even

  if Count Six is truly “impermissibly duplicitous,” the less

  drastic remedy of reformulation is preferred over dismissal,

  particularly because the Second Circuit has found that duplicity

  “is only a pleading rule [that] would in no event be fatal to

  the count.”    (Id. at 5 (quoting United States v. Droms, 566 F.2d

  361, 363 n.1 (2d Cir. 1977).)



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             A. Legal Standard

             “[A]n indictment [is] duplicitous ‘if it joins two or

  more distinct crimes in a single count.’”          United States v.

  Sturdivant, 244 F.3d 71, 75 n.3 (2d Cir. 2001) (citing United

  States v. Aracri, 968 F.2d 1512, 1518 (2d Cir. 1992)).              “The

  rule against duplicity prohibits the Government from joining two

  or more distinct offenses in a single count, because if a jury

  were to return a general verdict on a duplicitous count, it

  would be unclear as to whether the defendant was found guilty of

  only one crime and not the other, or guilty of both.”              United

  States v. Coffey, 361 F. Supp. 2d 102, 109 (E.D.N.Y. 2005)

  (citing United States v. Murray, 618 F.2d 892, 896 (2d Cir.

  1980)).

             A single count that alleges commission by a defendant

  of a crime by several means is not duplicitous, however.

  Coffey, 361 F. Supp. 2d at 110 (citing Murray, 618 F.2d at 899 &

  n.7).   Section 924(c) sets forth an offense that can be

  committed in three different ways:        by (1) using, carrying or

  possessing; (2) brandishing; or (3) discharging a firearm in

  furtherance of a drug-trafficking crime.          See 18 U.S.C. §

  924(c)(1)(A)(i)-(iii).      The Second Circuit has explained that

  “[w]here there are several ways to violate a criminal statute,”

  as is the case with Section 924(c), “federal pleading requires .

  . . that an indictment charge [be] in the conjunctive to inform
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  the accused fully of the charges.”        United States v. Mejia, 545

  F.3d 179, 207 (2d Cir. 2008) (quoting United States v.

  McDonough, 56 F.3d 381, 390 (2d Cir. 1995) (emphasis added));

  see Fed. R. Crim. P. 7(c) (“A count may allege . . . that the

  defendant committed [the offense] by one or more specified

  means.”).

              Notably, “[d]uplicitous pleading . . . is not

  presumptively invalid,” United States v. Olmeda, 461 F.3d 271,

  281 (2d Cir. 2006), nor does it necessarily require dismissal of

  an indictment.    Sturdivant, 244 F.3d at 79.          The Second Circuit

  “has long held that acts that could be charged as separate

  counts of an indictment may instead be charged in a single count

  if those acts could be characterized as part of a single

  continuing scheme.”     Olmeda, 461 F.3d at 281 (citation omitted).

  Furthermore, in seeking to avoid prejudice to the defendant,

  courts can employ alternatives that are less drastic than

  dismissal, such as instructing the jury that it must be

  “unanimous as to the conduct underlying the conviction.”

  Sturdivant, 244 F.3d at 79.

              B. Application

              Count Six of the Superseding Indictment charges

  Mitchell and certain of his co-defendants with “knowingly and

  intentionally us[ing] and carry[ing] one or more firearms during


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  and in relation to one or more drug trafficking crimes . . .

  which firearms were brandished and discharged.”            (S-3 ¶ 26.)

  Contrary to Mitchell’s assertions, Count Six does not “join[]

  two or more distinct crimes in a single count.”            Sturdivant, 244

  F.3d at 75 n.3.    Rather, it alleges that each of the named

  defendants committed one crime (i.e., use of a firearm in

  relation to drug trafficking) by several means (i.e., using,

  carrying or possessing; brandishing; or discharging).              Coffey,

  361 F. Supp. 2d at 110.      Therefore, Count Six is not

  duplicitous.    Id.

             Moreover, assuming arguendo that the three means by

  which Section 924(c) can be violated constitute separate crimes,

  the inclusion of all three crimes in a single count is proper

  here.   The Second Circuit has held that “the appropriate unit of

  prosecution [of firearms offenses charged under Section 924(c)

  is] the underlying drug-trafficking offense,” not each separate

  firearm used or each incident in which a firearm was used,

  carried or possessed; brandished; or discharged in connection

  with the drug-trafficking conspiracy.          United States v. Lindsay,

  985 F.2d 666, 674 (2d Cir. 1993).          Consequently, “[o]nly where

  the defendant commits multiple drug-trafficking crimes or

  violent crimes, and the government can link the firearms to

  those crimes, may the government prosecute for multiple

  violations of [Section] 924(c).”          Id. (internal citations

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  omitted).    Here, with respect to Mitchell, the government has

  charged one underlying drug-trafficking offense--the conspiracy

  set forth in Count Two, which constitutes a “single continuing

  scheme.”    United States v. Tutino, 883 F.2d 1125, 1141 (2d Cir.

  1989).   Therefore, even if carrying, using or possessing;

  brandishing; and discharging a firearm in relation to drug

  trafficking constitute three distinct crimes, inclusion of all

  three crimes in Count Six is proper.         See id. at 1141 (“[A]cts

  that could be charged as separate counts of an indictment may

  instead be charged in a single count if those acts could be

  characterized as part of a single continuing scheme.”).

              Mitchell correctly states that a jury could find him

  guilty of Count Six if it finds that he possessed a gun in

  relation to drug trafficking, even if it finds that he neither

  brandished nor discharged the gun.         (Mitchell Mem. at 4.)        For

  the reasons stated above, however, this does not make Count Six

  duplicitous.    Nor does it indicate that the government has

  “improperly attempt[ed] to swe[pt] together multiple offenses in

  one count,” as Mitchell contends.         (Id. at 5.)     Where, as here,

  a single criminal charge is brought against Mitchell pursuant to

  a statute that can be violated in more than one way, a

  conviction of that charge “will be sustained if the evidence

  indicates that the statute was violated in any of the ways

  charged.”    Mejia, 545 F.3d at 207 (quoting McDonough, 56 F.3d at

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  390) (emphasis added); see United States v. Schiff, 801 F.2d

  108, 114 (2d Cir. 1986) (quoting United States v. Cioffi, 487

  F.2d 492, 499 (2d Cir. 1973) (“[I]t appears settled that

  indictments worded in the conjunctive, charging violations of

  statutes worded in the disjunctive, can be supported by proof of

  either of the conjoined means of violating the act.”)).              In

  United States v. Canady, 126 F.3d 352 (2d Cir. 1997), for

  example, the Second Circuit held that that although one count in

  an indictment “charge[d] that [defendant] use[d] and carr[ied]

  the gun, [the defendant] could properly be convicted under §

  924(c) if . . . [he] either used or carried a firearm in

  connection with the underlying drug trafficking crime.”              Id. at

  357 n.2 (internal citations and quotation marks omitted).

             In addition, the doctrine of duplicity “must be

  invoked only when an indictment affects the policy

  considerations that underlie that doctrine,” which include

             avoiding   the   uncertainty   of   whether   a
             general verdict of guilty conceals a finding
             of guilty as to one crime and a finding of
             not guilty as to another, avoiding the risk
             that the jurors may not have been unanimous
             as to any one of the crimes charged,
             assuring   the   defendant   adequate   notice,
             providing    the    basis    for    appropriate
             sentencing, and protecting against double
             jeopardy in a subsequent prosecution.

  United States v. Margiotta, 646 F.2d 729, 733-34 (2d Cir. 1981).

  Although Mitchell cites each of those concerns, the court finds

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that they are either unfounded or will be adequately remedied

through jury instructions and the use of a special verdict

sheet.

           First, the use of a special verdict form will

eliminate the risk that (1) a general verdict of guilty would

conceal a less-than-unanimous finding of guilty as to one aspect

of Section 924(c), and (2) Mitchell would not be protected

against double jeopardy in a subsequent prosecution.           The

special verdict form will require jurors to specify each of

their unanimous findings as to whether Mitchell (1) used,

carried or possessed; (2) brandished; or (3) discharged firearms

in violation of Section 924(c).       Consequently, Mitchell will be

fully apprised as to the jury’s verdict regarding each of the

grounds upon which a conviction Section 924(c) can be based.             In

addition, the special verdict form will provide a basis for

appropriate sentencing.      See United States v. Chalmers, 410 F.

Supp. 2d 278, 285 (S.D.N.Y. 2006) (noting special verdict form

can adequately address policy concerns set forth in Margiotta).

           Second, the inclusion in Count Six of all three

possible means by which Section 924(c) can be violated gives

Mitchell adequate notice as to the charges brought against him.

Because Section 924(c) can be violated in three ways, the

conjunctive form of allegations in Count Six apprises Mitchell

of the nature of the charge.       See McDonough, 56 F.3d at 390
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(“Where there are several ways to violate a criminal statute . .

. federal pleading requires . . . that an indictment charge [be]

in the conjunctive to inform the accused fully of the

charges.”).    Moreover, Count Two sets forth the distinct period

(November 2006 through December 2010) during which Mitchell is

alleged to have used, carried or possessed; brandished; or

discharged a firearm in relation to the charged drug-trafficking

conspiracy.    (S-3 ¶ 22.)

           Third, jury instructions will adequately address

Mitchell’s concern that “the verdict may not be unanimous as to

the specific allegations combined within the single count.”

(Mitchell Mem. at 4.)      The court will instruct the jury that in

order to find a defendant guilty of Count Six, the jury must (1)

unanimously agree that the defendant used, carried or possessed

a gun; and/or (2) unanimously agree that the defendant

brandished a firearm; and/or (3) unanimously agree that

defendant discharged a firearm, in relation to the charged drug

trafficking offense.      See Sturdivant, 244 F.3d at 74-75, 79-80

(approving use of “a jury instruction that ensures that the jury

is unanimous as to the conduct underlying the conviction” to

address prejudice concerns caused by duplicitous charge); see

also Harris v. United States, No. 09-CV-4380, 2010 WL 2710600,

at *2 (E.D.N.Y. July 6, 2010) (finding no duplicity-related

prejudice in trial against defendant facing Section 924(c)

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charge because “the jury instructions not only clearly specified

the elements of the three potential ways to commit the [Section]

924(c) offense but also explicitly required that the jury be

unanimous as to one of the three ways”).

           Accordingly, the court denies Mitchell’s motion to

dismiss Count Six on grounds of impermissible duplicity because

the charge is not duplicitous.       In the alternative, even if

Count Six were duplicitous, the court would deny Mitchell’s

motion because the duplicity will not prejudice him in light of

the court’s use of a special verdict form and the jury

instructions set forth supra.

   II.   Motion for Bill of Particulars

           Mitchell also moves for a bill of particulars with

respect to Count Six on grounds that he is “not on notice of

precisely what charge to defend [against]” because “[a]t least

seven people are aggregated together over a nearly four-year

span [and allegedly] involved in a range of varied conduct” in

Count Six.    (Mitchell Mem. at 5-6.)      The particulars Mitchell

seeks primarily relate to the “date, time and place” that

Mitchell is alleged to have used and carried, brandished or

discharged a firearm in furtherance of the charged drug-

trafficking conspiracy.      (Id. at 6.)    Mitchell also requests

information regarding whether any firearm that he allegedly

used, carried or possessed; brandished; or discharged is
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currently in the government’s possession, and if so, Mitchell

seeks the date, time and place in which the government recovered

any such firearm.        (Id.)

           The government urges the court to deny Mitchell’s

motion for a bill of particulars on grounds that the government

has already furnished adequate information regarding Count Six

through the Superseding Indictment, the complaint, “extensive

discovery provided by the government to date and the

government’s pre-trial motions.”          (Gov’t Opp’n at 9.)

           A. Legal Standard

           A defendant may seek a bill of particulars pursuant to

Federal Rule of Criminal Procedure 7(f) in order to

(1) “identify with sufficient particularity the nature of the

charge pending against him, thereby enabling defendant to

prepare for trial”; (2) “to prevent surprise”; and (3) “to

interpose a plea of double jeopardy should he be prosecuted a

second time for the same offense.”          United States v. Bortnovsky,

820 F.2d 572, 574 (2d Cir. 1987).          The district court has

discretion to decide whether to grant a bill of particulars.

Id. at 574 (citing United States v. Panza, 750 F.2d 1141, 1148

(2d Cir. 1984)).

           Notably, “[a] bill of particulars is required ‘only

where the charges of the indictment are so general that they do


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not advise the defendant of the specific acts of which he is

accused.’”    United States v. Walsh, 194 F.3d 37, 47 (2d Cir.

1999) (quoting United States v. Torres, 901 F.2d 205, 234 (2d

Cir. 1990), overruled on other grounds as recognized by United

States v. Marcus, 628 F.3d 36 (2d Cir. 2010)).          Therefore, the

court may deny a motion for a bill of particulars “if the

information sought by defendant is provided in the indictment or

in some acceptable alternate form.”        Bortnovsky, 820 F.2d at

574; see also United States v. Rigas, 258 F. Supp. 2d 299, 305

(S.D.N.Y. 2003) (no bill of particulars is warranted where “the

Indictment, discovery, and other information provided by the

government adequately notify Defendants of the charges against

them”); United States v. Barnes, 158 F.3d 662, 665–66 (2d Cir.

1998) (finding district court did not abuse its discretion by

denying a bill of particulars to defendants where the government

had already provided “extensive additional information” regarding

their alleged involvement in the charged offenses “so as to enable

them to understand the nature of the charges against them, to

prepare a defense, and avoid unfair surprise at trial”).

           Moreover, numerous courts in this Circuit have

cautioned that “[a]cquisition of evidentiary detail is not the

function of the bill of particulars.”        Torres, 901 F.2d at 234;

see also United States v. Larracuente, 740 F. Supp. 160, 163

(E.D.N.Y. 1990) (“A bill of particulars is not to be viewed as a


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discovery device to seek and compel disclosure of the

Government’s evidence prior to trial.”); United States v. Feola,

651 F. Supp. 1068, 1123 (S.D.N.Y. 1987), aff’d without opp., 875

F.2d 857 (2d Cir. 1989) (noting that “courts have refused to

treat a bill of particulars as a general investigative tool for

the defense, or as a device to compel disclosure of the

Government’s evidence or its legal theory prior to trial”).

           Accordingly, “[t]he applicable standard for whether a

bill of particulars should issue is not whether the information

sought would be helpful to the defense, but whether it is

necessary.”    United States v. Batista, No. 06-CR-265, 2009 WL

910357, at *9 (E.D.N.Y. Mar. 31, 2009); see also Torres, 901

F.2d at 234 (“The function of a bill of particulars is to

provide [the] defendant with information about the details of

the charge against him if this is necessary to the preparation

of his defense, and to avoid prejudicial surprise at the

trial.”) (emphasis added) (internal quotations omitted); United

States v. Triana-Mateus, No. 98 CR. 958, 2002 WL 562649, at *5

(S.D.N.Y. Apr. 15, 2002) (“In deciding a motion for a bill of

particulars, ‘[t]he important question is whether the

information sought is necessary, not whether it is helpful.’”)

(quoting United States v. Facciolo, 753 F. Supp. 449, 451

(S.D.N.Y. 1990)).        In determining whether a defendant has shown

such necessity, the trial court “must examine the totality of

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the information available to the defendant, including the

indictment and general pre-trial discovery.”           United States v.

Solomonyan, 452 F. Supp. 2d 334, 349 (S.D.N.Y. 2006) (internal

citation omitted).

           B. Application

           Having reviewed the totality of information available

to the defendant--including the Superseding Indictment, the

criminal complaint filed on October 8, 2010, the affidavits in

support of the search warrants, the letters that accompanied the

government’s discovery disclosures to date and the government’s

in limine submissions (see ECF Nos. 1, 219, 234–37, 255, 274,

299 and 336)--the court finds that a bill of particulars is not

warranted.

           In so ruling, the court is mindful that it “cannot

compel the government to disclose, through a bill of

particulars, ‘the manner in which it will attempt to prove the

charges, the precise manner in which a defendant committed the

crime charged, or to give a preview of its evidence and legal

theories, lest the defendant tailor his testimony to explain

away the [g]overnment’s case.’”       Batista, 2009 WL 910357, at *9

(quoting United States v. Jimenez, 824 F. Supp. 351, 363

(S.D.N.Y. 1993)); United States v. Conley, No. 00 CR 0816, 2002

WL 252766, at *4 (S.D.N.Y. Feb. 21, 2002) (“The Government is


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not required to provide information that would, in effect, give

the Defendant a preview of the Government’s case before trial.”)

Moreover, the court finds that “[w]hat defendant seeks is in the

nature of the ‘wheres, whens, and with whoms’ that Courts have

held to be beyond the scope of a bill of particulars.”            United

States v. Mitlof, 165 F. Supp. 2d 558, 569 (S.D.N.Y. 2001)

(citation omitted).

           Count Six of the Superseding Indictment tracks the

language of the relevant statute and specifies the dates

(between November 2006 and October 2010) and the location

(within the Eastern District of New York and elsewhere) where

Mitchell is alleged to have violated Section 924(c).           (S-3

¶ 26.)   Moreover, the government has advised Mitchell that “it

is the government’s theory that each of the defendants charged

not only regularly possessed firearms throughout the course of

the conspiracy, but that they are also liable under a Pinkerton

theory of liability for firearms possessed by their co-

conspirators.”    (Gov’t Opp’n at 10.)      Furthermore, the

government’s in limine submissions are replete with detailed

references to specific instances in which Mitchell and certain

of his co-defendants allegedly possessed, brandished and

discharged firearms in furtherance of the charged drug-

trafficking conspiracy.      (ECF No. 299, Government’s Motions in



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Limine, at 6-12; ECF No. 336, Reply to Government’s Motion in

Limine, at 5-6.)

           In light of the foregoing, the court finds that the

government has adequately notified Mitchell regarding the nature of

the firearms charge set forth in Count Six and that the

government’s disclosures to date allow Mitchell to properly

prepare a defense, and avoid surprise at trial and double

jeopardy concerns.       Accordingly, the court denies Mitchell’s

motions for a bill of particulars.

                                CONCLUSION

           For the foregoing reasons, the court denies Mitchell’s

motion to dismiss Count Six of the Superseding Indictment.             The

court also denies Mitchell’s motion for a bill of particulars.



SO ORDERED.

Dated: December 27, 2011
Brooklyn, New York
                                   ___________/s/________________
                                   KIYO A. MATSUMOTO
                                   United States District Judge
                                   Eastern District of New York




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